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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                               Case No. 3:19md2885
 EARPLUG PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases on               Judge M. Casey Rodgers
 Exhibits A and B                                    Magistrate Judge Hope T. Cannon


                                            ORDER

       On March 23, 2022, the Court directed all MDL plaintiffs who are veterans to

submit a Form DD214 or DoD Military Service Information Report by certain

deadlines.1 See Case Management Order No. 40, ECF No. 2911. The Order warned

that a plaintiff’s failure to timely submit the requisite form or report would result in

the dismissal of the plaintiff’s case without prejudice. See id. at 3. This Order

addresses the plaintiffs identified on Exhibits A and B who failed to submit the

requisite military service documentation by the court-imposed deadlines.2

       The plaintiffs on Exhibit A have submitted census materials indicating they

are veterans. The plaintiffs on Exhibit B have submitted census materials that

       1
          The Court previously stayed certain proceedings in the MDL pending resolution of any
interlocutory appeal of its Order dated December 22, 2022. See ECF Nos. 3568 & 3610. On
December 30, 2022, the Court further clarified that the DD214 and census form requirements are
not subject to the stay and that plaintiffs must fulfill their DD214 and census form obligations in
accordance with the previously established deadlines. See ECF No. 3615 at 2.
        2
          For any case that is newly filed or transferred into this MDL after March 23, 2022, a
DD214 form or DoD Military Service Information Report must be submitted through MDL
Centrality within 14 days of the date the case was filed in or transferred into the MDL. See CMO
40, ECF No. 2911 at 3.
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contain conflicting answers about their veteran status and none have advised the

Court or BrownGreer that they are not veterans, such that the document requirements

in CMO 40 would not apply.

      Rules 16(f) and 37(b)(2)(A) of the Federal Rules of Civil Procedure authorize

a court to sanction a party, up to and including dismissal of a case, for failing to

comply with pretrial orders. This authority has particular significance in the MDL

context. An MDL judge bears the “enormous” task of “mov[ing] thousands of cases

toward resolution on the merits while at the same time respecting their

individuality.” In re Phenylpropanolamine (PPA) Prod. Liab. Litig., 460 F.3d 1217,

1231 (9th Cir. 2006). To carry out this task in an organized and efficient manner,

an MDL court must define and strictly adhere to case management rules. See id. at

1232 (“[T]he district judge must establish schedules with firm cutoff dates if the

coordinated cases are to move in a diligent fashion toward resolution by motion,

settlement, or trial.”); see also Fed. R. Civ. P. 1 (stating that the Federal Rules of

Civil Procedure “should be construed and administered to secure the just, speedy,

and inexpensive determination of every action and proceeding”). Pretrial orders—

and the parties’ compliance with those orders and their deadlines— “are the engine

that drives disposition on the merits.” Id. at 1232. “A [court’s] willingness to resort

to sanctions in the event of noncompliance can ensure that the engine remains in

tune, resulting in better administration of the vehicle of multidistrict litigation.” In
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re Cook Medical, Inc. Pelvic Repair Sys. Prof. Liab. Litig., 2018 WL 4698953, at *2

(S.D. W. Va. Sept. 28, 2018) (citing Freeman v. Wyeth, 764 F.3d 806, 810 (8th Cir.

2014) (“The MDL judge must be given ‘greater discretion’ to create and enforce

deadlines in order to administrate the litigation effectively. This necessarily includes

the power to dismiss cases where litigants do not follow the court’s orders.”)).

       Applying these rules, the Court concludes that dismissal without prejudice is

appropriate in the cases identified on Exhibits A and B. This MDL has been pending

for over four years. All veterans who allegedly wore the CAEv2 during their military

service, and their counsel, have been on notice—for nearly as long—that a DD214

would be a fundamental requirement for pursuing a claim in this litigation. See

Pretrial Order No. 18, ECF No. 775 & 775-2.3 This is because the DD214 constitutes

official proof of a veteran’s military service and provides essential details about the

veteran’s service record, information that is critical to the claims and defenses

involved in virtually every veteran’s claim.4                 The Court reemphasized the

importance of a DD214 at the February 16, 2022 Case Management Conference,

and, at that time, advised the parties that an order requiring its production by all

       3
          Indeed, the DD214 is the very first item on the list of required initial census documents.
See PTO 18, Exhibit B, ECF No. 775-2. The initial census deadlines were suspended for a time
(both for initial census questions and for initial census documents), see Case Management Order
No. 6, ECF No. 836, and ultimately reinstated for initial census questions only, see PTO 81, ECF
No. 1848. The initial census documents requirement was never reinstated, which led to CMO 40,
separately requiring the production of DD214s.
        4
           For example, the DD214 includes information regarding dates of service, military
occupational specialties held, awards, education, and separation information (i.e., date and type of
separation, character of service, and the authority and reason for separation).
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veterans would be forthcoming. See also Case Management Order No. 35, ECF No.

2789 at 4. That Order (again, CMO 40) was entered on March 23, 2022, and, in

light of potential time constraints for veterans who had not yet obtained a copy of

their DD214 from the DoD, the Order identified two different ways for a plaintiff

veteran to establish his or her military service—either (1) by producing a DD214; or

(2) by producing a DoD Military Service Information Report (colloquially referred

to as the “Blue Button”) which is readily and easily accessible to every veteran

(and/or a legal representative with the veteran’s credentials) on the VA’s health

management portal, MyHealtheVet.5 Given the advanced stage of this litigation and

the importance of veterans’ military service information to the various claims and

defenses in this litigation, it was and is entirely reasonable to require veterans to

timely show basic proof of military service before both sides start incurring the costs

involved with preparing a CAEv2 case for trial. The plaintiffs identified on Exhibits

A and B failed to fulfill this basic requirement, despite ample notice of it and ample

time to comply. Consistent with CMO 40, those plaintiffs’ cases are due to be

dismissed without prejudice.

       Accordingly:




       5
        CMO 40 even included a link to the VA’s public website for the “Blue Button,” as well
as a sample Blue Button form.
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       1.     The plaintiffs’ cases identified on Exhibits A and B are hereby
              DISMISSED WITHOUT PREJUDICE for failure to comply with a
              court order.6

       2.     Active-duty plaintiffs and non-veterans are hereby granted leave to file
              a motion to reopen their case, which must be accompanied by a
              statement clarifying their status with respect to military service. Any
              motion to reopen on this basis must be filed only on the individual
              docket for a plaintiff’s case by June 5, 2023.

       3.     The Clerk is directed to enter a copy of this Order on the main MDL
              docket and on the individual dockets and close the cases in their entirety
              for all purposes.

       SO ORDERED, on this 5th day of May, 2023.



                                    M. CASEY RODGERS
                                    UNITED STATES DISTRICT JUDGE




       6
         To the extent a Request for Dismissal from Administrative Docket (RFD) was filed in a
particular case before CMO 40 was entered, the case will be dismissed pursuant to the RFD, and
not pursuant to CMO 40.
